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IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
IN AND FOR HILLSBOROUGH COUNTY, STATE OF FLORIDA
CIVIL DIVISION

ZARIAH GAELYN-LEVAI AND JADE
GAELYN-LEVAI ,

Plaintiffs, CASE NO:
vs.
SETH P. COLLEY AND NWLED, INC.,

Defendants.
/

COMPLAINT FOR AUTO NEGLIGENCE
AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiffs, ZARIAH GAELYN-LEVAI and JADE GAELYN-LEVAL
by and through undersigned counsel, and sues Defendants, SETH P. COLLEY and NWLED,
INC, and alleges:

1. This is an action for damages in excess of $30,000, exclusive of attorneys’ fees,
interest and costs, and Plaintiffs hereby demand a trial by jury; accordingly, although, to file this
complaint, undersigned counsel is being required by order of the Supreme Court of Florida to
contemporaneously complete a civil cover sheet with a dollar figure as an estimated amount of
claim for data collection and clerical processing purposes only, the full monetary value of the
damages suffered by Plaintiffs are yet to be determined and will be decided in a verdict by the
jury that judges the facts of this action in compliance with Article I, Section 21, Florida
Constitution.

2. At all times material to this action, Plaintiff, ZARIAH GAELYN-LEVAL, was
and is a resident of Tampa, Hillsborough County, Florida.

3. At all times material to this action, Plaintiff, JADE GAELYN-LEVAI, was and is

a resident of Tampa, Hillsborough County, Florida.

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4, At all times material to this action, Defendant, SETH P. COLLEY, was and is a
resident of Nashville, Davidson County, Tennessee.

5. At all times material to this action, Defendant, NWLFD, INC, was and is a
corporation, with its principal place of business in the city of Cedar Park, Williamson County,
Texas. .

COUNT I
NEGLIGENCE

6. Plaintiff, ZARIAH GAELYN-LEVAI, re-alleges and incorporates herein all the
allegations contained in Count I above as though fully set forth herein.

7. On or about October 19, 2021, Plaintiff, ZARIAH GAELYN-LEVAI, was
traveling on or near N. Lois Ave and W Cypress St, Tampa, Hillsborough County, Florida.

8. On or about October 19, 2021, Defendant, SETH P. COLLEY, who was also
traveling on or near N. Lois Ave and W Cypress St, Tampa, Hillsborough County, Florida.

9. On or about October 19, 2021, Defendant, SETH P. COLLEY, was acting as an
employee in the scope of its employment in furtherance of business pursuits for Defendant,
NWLED, INC, by operating a motor vehicle.

10. Defendant, SETH P. COLLEY, negligently, failed to yield to oncoming traffic
while making a left turn on Lois Avenue causing a collision and serious injury to Plaintiff,
ZARIAH GAELYN-LEVAL

11. As a direct and proximate result, the Plaintiff, ZARIAH GAELYN-LEVAL
suffered bodily injury resulting in pain and suffering, disability, disfigurement, mental anguish,
loss of capacity for the enjoyment of life, expense of hospitalization, medical and nursing care
and treatment, ioss of earnings, loss of ability to earn money and aggravation of a pre-existing
condition. The losses are either permanent or continuing in nature and Plaintiff will suffer the

losses in the future.
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12. WHEREFORE Plaintiff, ZARIAH GAELYN-LEVAI, demand judgment for
damages against the Defendant, SETH P. COLLEY and seeks a right to trial by jury on all issues
and costs in this action.

COUNT II
NEGLIGENCE OF NWLED, INC

13. ‘Plaintiffs, ZARIAH GAELYN-LEVAI and JADE GAELYN-LEVAI, re-allege
and incorporate herein all the allegations contained in Paragraphs 1-12 above as though fully set
fourth herein.

14. Under Florida law, an employee can be held vicariously liable for the negligence
of its employees while the employee is acting within the course and scope of employment. See
e.g., City of Miami v. Simpson So. 2d 435 (Fla. 1965).

15. At the time of the subject crash, Defendant, SETH P. COLLEY, who was an
agent or employee within the course and scope of his employment with Defendant, NWLFD,
INC.

16. As a result, Defendant, NWLFD, INC., is vicariously liable for the negligence of
Defendant, SETH P. COLLEY, under the doctrince of respondeat superior.

17. As a direct and proximate result, the Plaintiff, ZARIAH GAELYN-LEVAI,
suffered bodily injury resulting in pain and suffering, disability, disfigurement, loss of capacity
for the enjoyment of life, earning, loss of ability to earn money and aggravation of a pre-existing
condition. The losses are either permanent or continuing in nature and Plaintiff will suffer the
losses in the future.

18. WHEREFORE, Plaintiff, ZARIAH GAELYN-LEVAI, demand judgment for
damages against the Defendant, NWLFD, INC., and seek a right to trail by jury on all issues and

costs in this action.
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COUNT Il
LOSS OF CONSORTIUM

19. Plaintiffs, ZARIAH GAELYN-LEVAI and JADE GAELYN-LEVAI, reallege
and incorporate herein all the allegations contained in Paragraphs 1-18 above as though fully set
forth herein.

20. _—At all times material to this cause of action, Plaintiffs, ZARIAH GAELYN-
LEVAI and JADE GAELYN-LEVAI were and are wife and wife, residing together and enjoying
a family relationship.

21. Asa direct and proximate result of the aforesaid negligence of the Defendants,
SETH P. COLLEY and NWLFD, INC., which directly and proximately resulted in injuries to
Plaintiff, ZARIAH GAELYN-LEVAI as herein alleged, Plaintiff, JADE GAELYN-LEVAL has
in the past and will in the future, suffer the loss of her spouse’s companionship, services, support,
affection and consortium of Plaintiff, ZARIAH GAELYN-LEVAI.

WHEREFORE Plaintiffs, ZARIAH GAELYN-LEVAI and JADE GAELYN-LEVAL
demands judgment for damages against the Defendants, SETH P. COLLEY AND NWLFD,
INC., and seeks a right to trial by jury on all issues and the costs of this action.

DATED THIS _ 26TH __ day of August, 2022.

fs/ Adam D. Rieth

Stephen A. Barnes, 005177
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